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                            C      D
                           SSN:       -4636
                              1000279807




                      YEARS: 2012 2013 2014 2015


                     VIOLATIONS: Title 26 7206 (1)




                                                                   EXHIBIT
                                                                        Q
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Internal Revenue Service                              Department of the Treasury
                                                      Criminal Investigation
                                                      New Orleans Field Office




Jerome R. McDuffie                                    Person to Contact:
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600 S. Maestri Place                                  Telephone Number:
New Orleans, LA 70130                                 225-923-4196
                                                      Date:
                                                      10/26/2017

                                            IN RE: C          D
                                                             -4636

                                                      Violet , LA 70092
                                                      1000279807

                             REPRESENTATIVE:



                                           FINAL: Discontinued Investigation


                                        INTRODUCTION
This is a request for a discontinuance of the investigation of C           D         (hereinafter
“C           ”.



                                BASIS FOR INVESTIGATION

This case was developed from witness interviews conducted in another subject investigation. The
witnesses stated they worked at                              (hereinafter “                ”) and
were supposed to be given Forms W-2. Sometimes they were issued Forms W-2 and sometimes
they were not issued Forms W-2. The witnesses felt that a lot of income was being mishandled
by the owners of                 . When tax returns for the owner, C           , were analyzed,
there was possible evidence of fraud. C           claims the entire company on her personal
income tax return as a Schedule C business, even though the business receives approximately
$800,000.00 to 1 million in earnings each year. C            brings home a net profit of
approximately $21,000.00 to $25,000.00 each year from                    . The rest of the
               ’s earnings are used to pay expenses for the business. This causes C             to
get the Earned Income Credit (EIC) each year for the last six years. C           ’s parents
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                  . (hereinafter “     ”) and                                (“hereinafter
       ”) are believed to have ownership in the business too, neither one of her parents file
income tax returns.                claims to pay wages, but no employment tax returns exist for
the company. The company currently owes approximately $100,000.00 in employment taxes.




                      EXTENT AND RESULTS OF INVESTIGATION

On March 28, 2017, simultaneous interviews were conducted with                                    ,
and their tax preparer, Henry Timothy (hereinafter “Timothy”). After being read their Non-
Custody Statement of Rights per Department of Treasury Document 5661, C                   ,       ,
       , invoked their Fifth Amendment Right to silence and refused to speak with Internal
Revenue Service –Criminal Investigation (hereinafter IRS-CI). The interview conducted with
Timothy, yielded insufficient evidence due to the fact that he does not retain any copies of any
documents used to prepare the income tax returns for C              or for the preparation of her
Schedule C for                   Timothy stated in his interview that he prepares all the
information for the income tax return from C             s written documents. Timothy also could
not provide or did not recall how C           handled her calculation for expenses recorded on
the income tax return. Timothy did know that QuickBooks was used for the business but did not
request QuickBooks information for the verification of expenses. Timothy prepared
C           ’s income tax returns based on what information D               provided to him. The
only paperwork Timothy retains is the signed IRS authorization Form 8897, which is signed by
C           .

Numerous summonses were served upon various companies, banks, clients, government
facilities and other third-party entities. C       ,               , and all other, associated
bank accounts located were analyzed and the necessary check spreads were completed on the
accounts. The bank accounts’ analysis shows that C            was indeed making payments to
the Internal Revenue Service for her employment taxes each month. The reason her account was
showing a deficiency was because C             did not submit her Forms 941 in a timely fashion.
This negates the allegation that C           was evading the payment of employment taxes.

The analysis of C            ’s personal bank accounts and the business account for
PCA, shows that C              received the benefit of approximately $70,000.00 to $80,000.00
from the business. C             regularly withdraws cash, issues a check to herself, or transfers
money from the business account into her personal account on a bi-weekly basis. The business
account does contain personal expenses such as her children’s tuition for school; however, these
expenses and the withdrawals result in a tax harm below criminal prosecution guidelines.
Additionally, third party records verifying income were compared to the Schedule C Gross
receipts and the bank account analysis. This comparison shows that the income generated by the
business was deposited into the business bank account, and subsequently reported on the
Schedule C. Therefore, there is no additional unreported business income. Due to the tax loss
being below prosecution guidelines and a case lacking evidence of willfulness this investigation




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should be discontinued. A primary lead to SBSE will be forwarded after closing this criminal
investigation.




                      CONCLUSIONS AND RECOMMENDATIONS

In conclusion, the criminal case on C            should be discontinued due to the following
factors:
    x The allegation of failure to pay employment taxes in unfounded since payments were
         being made before and during the criminal investigation.
    x Gross Income was correctly accounted for and accurately reported on C                ’s tax
         returns.
    x The tax harm discovered through bank account analysis is di minimus for criminal tax
         proceedings.
I recommend that this case be referred to SBSE as a prime lead due to the inappropriate use of
the business account for personal expenses.




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                                           Lori H. Marable
                                           Special Agent




Approved:

                                                        10/26/2017

Justin Benson
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